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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


 ANNEX BOOKS, INC., et al.,                       )
                                                  )
                Plaintiff,                        )
                                                  )
        vs.                                       )        1:03-cv-918-SEB-TAB
                                                  )
 CITY OF INDIANAPOLIS,                            )
                                                  )
                Defendant.                        )


                 ENTRY GRANTING A PRELIMINARY INJUNCTION


        This matter is before the Court on Plaintiffs’ Motion for Preliminary Injunction

 [Docket No. 112], filed on November 6, 2009, pursuant to Federal Rule of Civil

 Procedure 65.1 Specifically, Plaintiffs, Annex Books, Inc., New Flicks, Inc., d/b/a New

 Flicks, Lafayette Video and News, Inc., d/b/a Lafayette Video and News, and Keystone

 Video and Newsstand, Inc., d/b/a Keystone Video, seek preliminary relief enjoining

 Defendant, the City of Indianapolis (“the City”), from enforcing against Plaintiffs Chapter

 807 of the Revised Code of the Consolidated City and County of Indianapolis, Marion

 County (“City-County Code”), the enforcement of which Plaintiffs allege violates their

 rights secured by the First and Fourteenth Amendments. A hearing was held on


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           The Court has interpreted Plaintiffs’ motion for temporary restraining order and
 preliminary injunction as a motion for preliminary injunction because Plaintiffs seek relief for a
 time period which could last more than twenty days. A temporary restraining order that remains
 in force longer than twenty days must be treated as a preliminary injunction. Commodity
 Futures Trading Comm’n v. Lake Shore Asset Mgmt. Ltd., 496 F.3d 769, 771 (7th Cir. 2007).
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 November 25, 2009, at which the parties presented evidence and oral argument.

        Having considered the parties briefing, the documentary evidence, and oral

 argument, for the reasons detailed below, the Court GRANTS Plaintiffs’ motion.



                            Factual and Procedural Background

        At issue in this case is the constitutionality of Chapter 807 of the City-County

 Code, which deals with the regulation of adult businesses. In 2003, the City revised its

 adult-business ordinances, expanding the definition of “adult entertainment business” to

 include any retail outlet that obtains at least 25% of its revenue from or devotes 25% or

 more of its space or inventory to adult books, magazines, films, and devices, and

 requiring any such business to close between the hours of midnight and 10 a.m., Monday

 through Saturday, as well as prohibiting them from engaging in the sale of materials at

 any time on Sundays. See Indianapolis Rev. Code §§ 807-103, -202(a), -301(f), -302.

 Plaintiffs are all businesses that fall within the revised definition of adult entertainment

 business under the ordinance.

        When this case originally came before the court, Plaintiffs sought declaratory and

 injunctive relief prohibiting the enforcement against them of Chapter 807, as amended,

 which they maintained violated their rights under the First and Fourteenth Amendments.

 On November 3, 2003, after a hearing on the merits, the Court enjoined enforcement of

 the ordinance pending “further order of the Court or a final resolution of the merits of the

 case.” Docket No. 51, at 9. The City subsequently agreed to refrain from enforcing the

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 ordinance until a final decision on the merits was rendered. On April 1, 2005, the Court

 entered final judgment in favor of the City, holding that enforcement of Chapter 807 did

 not violate Plaintiffs’ constitutional rights. Plaintiffs appealed and, on September 3,

 2009, the Seventh Circuit affirmed the Court’s judgment regarding the licensing

 procedure set out in the ordinance, but reversed and remanded the case for an evidentiary

 hearing on the substantive First Amendment issues. The mandate from the Seventh

 Circuit was issued on November 3, 2009. On November 6, 2009, Plaintiffs filed the

 instant motion for preliminary injunction.



                                        Legal Analysis

 I.     Standard of Review

        The grant of injunctive relief is appropriate if the moving party is able to

 demonstrate: (1) a reasonable likelihood of succeeding on the merits; (2) irreparable harm

 if preliminary relief is denied; and (3) an inadequate remedy at law. Girl Scouts of

 Manitou Council, Inc. v. Girl Scouts of the United States of America, Inc., 549 F.3d

 1079, 1086 (7th Cir. 2008). If the moving party fails to demonstrate any one of these

 three threshold requirements, the emergency relief must be denied. Id. However, if these

 threshold conditions are met, the Court must then assess the balance of harm – the harm

 to Plaintiffs if the injunction is not issued against the harm to Defendant if it is issued –

 and, where appropriate, also determine what effect the granting or denying of the

 injunction would have on nonparties (the public interest). Id.

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        In determining whether to grant injunctive relief, the district court must take into

 account all four of these factors and then “exercise its discretion ‘to arrive at a decision

 based on the subjective evaluation of the import of the various factors and a personal,

 intuitive sense about the nature of the case.” Id. (quoting Lawson Products, Inc. v. Avnet,

 Inc., 782 F.2d 1429, 1436 (7th Cir. 1986)). This process involves engaging in what is

 called the “sliding scale” approach, meaning that “the more likely it is the plaintiff will

 succeed on the merits, the less balance of irreparable harms need weigh toward its side;

 the less likely it is the plaintiff will succeed, the more the balance need weigh towards its

 side.” Abbott Laboratories v. Mead Johnson & Co., 971 F.2d 6, 12 (7th Cir. 1992). The

 sliding scale approach “is not mathematical in nature, rather ‘it is more properly

 characterized as subjective and intuitive, one which permits district courts to weigh the

 competing considerations and mold appropriate relief.’” Ty, Inc. v. Jones Group, Inc.,

 237 F.3d 891, 895-96 (7th Cir. 2001) (quoting Abbott Laboratories, 971 F.2d at 12).



 II.    Discussion

        A.     Likelihood of Success on the Merits

        In its ruling, the Seventh Circuit held that in order for the revised ordinance to pass

 constitutional muster, the City must present evidence that adult book or video stores

 without live entertainment or private booths, open after midnight, or on Sunday, cause

 adverse secondary effects sufficiently severe to justify the curtailment of speech which

 results from the City’s post-2003 system of regulation. See Annex Books, Inc. v. City of

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 Indianapolis, 581 F.3d 460, 465-67 (7th Cir. 2009). Thus, in order to satisfy the burden

 explicated by the Seventh Circuit, the City must essentially make two showings: first, that

 adult entertainment businesses lacking facilities for on-premise viewing create the same

 secondary effects as establishments providing those services, and second, that the revised

 ordinance requiring Plaintiffs to close from midnight to 10:00 a.m. Monday through

 Saturday and all day on Sunday “has the purpose and effect of suppressing secondary

 effects, while leaving the quantity and accessibility of speech substantially intact.” Id.

 (quoting City of Los Angeles v. Alameda Books, Inc., 535 U.S. 425, 449 (2002)

 (Kennedy, J., concurring)). If the City is unable to produce such evidence, the revised

 ordinance cannot stand.

        Judge Easterbrook, writing for the panel, highlighted various deficiencies in the

 evidence the City presented to the Seventh Circuit which called the City’s justification for

 the revised ordinance into question. For example, none of the studies on which the City

 relied before crafting its revised ordinance nor those that it originally cited in support of

 revised Chapter 807 in this litigation dealt with the type of ordinance at issue here (i.e.,

 restrictions on the hours adult entertainment businesses can be open). Nor did those

 studies assess the effects of stores that sell as little as 25% adult products, such as the

 businesses covered under the City’s revised ordinance. Moreover, the studies on which

 the City relied concerned adult businesses that offer on-premise viewing booths, live

 shows, or both, and three out of the four Plaintiffs in this suit do not offer such

 entertainment.

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        When the Seventh Circuit remanded the case, it had found the evidence the City

 had submitted up to that point in support of its revised ordinance to be deficient.

 Therefore, in assessing likelihood of success on the merits, we focus only on whether the

 new evidence the City has submitted in opposing the instant motion appears sufficient to

 have cured the deficiencies highlighted by the appellate court. We note that the hearing

 the court held on November 6, 2009 was only to address Plaintiffs’ motion for

 preliminary injunction; the full evidentiary hearing for which the case was remanded will

 be held at a later date. Thus, we recognize that the evidence presented by the City at the

 hearing is only preliminary and that the City intends to more fully develop its statistical

 evidence before the evidentiary hearing. We remain mindful of that fact in light of the

 Seventh Circuit’s recognition that “municipalities should get the benefit of the doubt” in

 our analysis. Annex Books, 581 F.3d at 466.

        To support its conclusion that adult businesses without on-premise viewing cause

 the same secondary effects as adult business without such services, the City cites to an

 article co-authored by its expert, Dr. Richard McCleary, which discusses a link between

 adult book stores without live entertainment or private viewing and secondary effects

 crimes. Def.’s Exh. A (Richard McCleary & Alan C. Weinstein, Do “Off-Site” Adult

 Businesses Have Secondary Effects? Legal Doctrine, Social Theory, and Empirical

 Evidence, 31 LAW & POLICY 217-35 (2009) (“McCleary Article”). In the McCleary

 Article, the authors theorize that: “To the extent that on-site and off-site adult bookstores

 attract high-value targets from wide catchment areas, both business types are expected to

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 attract predators to their neighborhoods, thereby generating ambient victimization risk.”

 Id. at 223. In support of that conclusion, the authors cite to a case study from Sioux City,

 Iowa, which showed that crime rose 190% in the area within 500 feet of a new off-site

 viewing adult bookstore, while crime in a comparable control area only rose 25% during

 the same period. Id. at 223-25. The study also revealed that the most significant increase

 in crime occurred during the store’s “overnight shift” from 8:00 p.m. to 3:59 a.m. Id. at

 227-28.

        While this evidence appears to be a step in the direction required by the Seventh

 Circuit,2 it is not without criticism. For example, Plaintiffs point to the Seventh Circuit’s

 recent decision in an analogous case, New Albany DVD, LLC v. City of New Albany,

 581 F.3d 556 (7th Cir. 2009), in which the court criticized the City of New Albany’s

 justification for its adult regulation based on increased thefts as “paternalistic.” Id. at

 560. Plaintiffs also cite the Northern District of Iowa’s decision in Dr. John’s, Inc. v.

 City of Sioux City, 438 F. Supp. 2d 1005 (N.D. Iowa 2006), where Dr. McCleary’s data

 was originally submitted in support of Sioux City’s regulation of an adult bookstore. The

 court heavily criticized Dr. McCleary’s data in that case, stating the flaws identified “cast

 reasonable doubt not only on the validity of Dr. McCleary’s report, but on whether any

 municipality could reasonably have believed that his report supported the regulations at

 issue here.” Id. at 1048-49. The City rejoins that the criticism leveled in New Albany


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         Judge Easterbrook made clear in the Seventh Circuit’s opinion that the City’s evidence
 “need not be local.” Annex Books, 581 F.3d at 463.

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 does not apply to the McCleary Article because the authors consider all crime, not just

 theft. Moreover, the City asserts that, since the time that the study was criticized by the

 Northern District of Iowa, Dr. McCleary has refined his work, using larger data sets and

 evaluating crimes within 500 feet of the store instead of fifty feet to address the court’s

 concerns.

        We need not make a definitive determination on the persuasiveness of the

 McCleary Article at this juncture, however, because even assuming that it is sufficient to

 show that adult businesses without on-premise viewing cause the same secondary effects

 as adult businesses which do offer such services, that is not the end of our inquiry. The

 Seventh Circuit ruling makes clear that the City still must demonstrate that its ordinance

 meets Justice Kennedy’s cost-benefit standard, meaning that it must advance some basis

 to show that its regulation “is likely to cause a significant decrease in secondary effects

 and a trivial decrease in the quantity of speech.” Annex Books, 581 F.3d at 465 (quoting

 Alameda Books, 535 U.S. at 445 (Kennedy, J., concurring)). The evidence submitted by

 the City up to this point does not support such a conclusion. In fact, the statistical

 evidence presented by the City comparing crime rates before and after enforcement of the

 revised ordinance actually shows that overall crime3 actually increased by 19% following

 enforcement in the areas within 500 feet of Plaintiffs’ businesses, compared to an increase



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         “Overall crime” includes both violent/person crimes (aggravated assault, forcible rape,
 homicide, and robbery) and property crimes (arson, burglary, larceny/theft, and motor vehicle
 theft).

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 of 13% in the balance of the Indianapolis Police Department (“IPD”) district. Def.’s Exh.

 B at Tbl. 1.4

        More specifically, on Sundays, crime characterized by the City as “violent/person

 crime,” which includes aggravated assault, forcible rape, homicide, and robbery,

 increased by 138% in the areas near Plaintiffs’ businesses after enforcement; “property

 crimes,” which include arson, burglary, larceny/theft, and motor vehicle theft, increased

 by 30% following enforcement of the revised ordinance; and overall crime increased by

 46%. Id. at Tbl. 4. In comparison, on Sundays in the balance of the IPD district during

 that same time period, violent/person crime increased 14%, property crime increased

 10%, and overall crime increased by only 11%. Id. During the hours of midnight to

 10:00 a.m., property crimes within 500 feet of Plaintiffs’ locations increased by 59% and

 overall crime increased by 29%. During those hours in the balance of the IPD district,

 property crimes increased 25% and overall crime increased 21%. Id. at Tbl. 3.

        The City downplays these statistics, citing instead to a decrease in violent/person

 crime near Plaintiffs’ businesses, both overall, and specifically during the hours of

 midnight and 10:00 a.m. Violent/person crime within 500 feet of Plaintiffs’ businesses

 decreased by 10% overall and 50% between the hours of midnight and 10:00 a.m.

 following enforcement of the revised regulation. In comparison, violent/person crime

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          On November 23, 2009, the City filed a motion to substitute a corrected version of its
 Exhibit B which contains various charts assessing Indianapolis crime statistics before and after
 enforcement of the revised ordinance. We hereby GRANT Defendant’s Motion to Substitute
 Exhibit B to Defendant’s Response [Docket No. 123]. All citations to “Def.’s Exh. B” in this
 entry refer to the corrected version of the exhibit.

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 increased 8% overall in the balance of the IPD district and increased 12% during the

 overnight hours. Id. at Tbls. 1, 3. However, when analyzed more closely, we find that

 the raw numbers are so small that they cannot justify the reduction in speech that results

 from the City’s revised ordinance. For example, during the hours of midnight to 10 a.m.,

 in the area near New Flicks, violent/person crime declined from one incident over the

 course of three years before the law was enforced to none after. Near Annex Books and

 Keystone Video there were two and three fewer incidents, respectively, of violent/person

 crime over the course of three years. Such minimal decreases in a narrow category of

 crime are clearly too insignificant to determine whether the decrease in violent/person

 crime was due to enforcement of the revised ordinance as opposed to chance, let alone to

 justify the significant reduction in speech resulting from the City’s post-2003 regulation

 as required by Justice Kennedy’s cost-benefit analysis.

           For the foregoing reasons, we find that the evidence the City has presented, at least

 up to this point, is likely insufficient to satisfy the burden set out in the Seventh Circuit’s

 ruling so as to justify the revised ordinance. Accordingly, we find that, at this stage in the

 proceedings, Plaintiffs have demonstrated at least some likelihood of success on the

 merits.



           B.     Inadequate Remedy at Law/Irreparable Harm

           It is well established that “[t]he loss of First Amendment freedoms, for even

 minimal periods of time, unquestionably constitutes irreparable injury.” Elrod v. Burns,

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 427 U.S. 347, 373 (1976) (citations omitted). Thus, because Plaintiffs have shown that

 they have at least some likelihood of successfully demonstrating that enforcement of the

 City’s ordinance results in unlawful curtailment of speech, it is clear that they have met

 their burden of showing the possibility of an irreparable injury (as a result of the

 deprivation of the claimed free speech rights) for which there is no adequate remedy at

 law.



        C.     Balance of Harms and the Public Interest

        The balance of harms and public interest factor also weigh in favor of Plaintiffs.

 Initially, we recognize that, generally, under Seventh Circuit precedent “there can be no

 irreparable harm to a municipality when it is prevented from enforcing an

 unconstitutional statute because ‘it is always in the public interest to protect First

 Amendment liberties.’” Joelner v. Village of Washington Park, 378 F.3d 613, 620 (7th

 Cir. 2004) (quoting Connection Distrib. Co. v. Reno, 154 F.3d 281, 288 (6th Cir. 1998)).

 However, when the challenged statute regulates the adult entertainment business,

 conflicting public interests are frequently implicated because “the purpose of adult

 entertainment regulations often is to minimize the deleterious secondary effects that may

 accompany adult entertainment businesses (e.g., increased crime rates, decreased property

 values).” Id. (citing City of Renton v. Playtime Theatres, Inc., 475 U.S. 41, 47 (1986)).

 The City has proffered such a purpose for its regulations here, and thus, we must weigh

 the relative harms to the parties stemming from a grant or denial of a preliminary

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 injunction.

        Up to this point in the proceedings, the City has failed to present convincing

 evidence to show that enforcement of the revised ordinance has resulted in a decrease in

 secondary effects – in this case, crime – compared to the period during which the

 previous ordinance was in effect sufficient to outweigh the potential harm to Plaintiffs’

 free speech rights if a preliminary injunction is not granted. In fact, as discussed above,

 the City’s statistics show that overall crime within 500 feet of Plaintiffs’ businesses has

 actually increased at all times measured since the ordinance change, as well as during

 each of the relevant time periods individually (i.e., between the hours of midnight and

 10:00 a.m. Monday through Saturday, and all day on Sundays).5 Def.’s Exh. B.

        Moreover, on Sundays following enforcement of the revised ordinance,

 “violent/person crime” near Plaintiffs’ businesses increased 138% and property crime

 increased 30%. Overall crime on Sundays within 500 feet of Plaintiffs’ businesses

 increased 46% following enforcement of the revised ordinance.6 Id. While the City did



        5
         For example, overall crime for all time periods rose 19% within 500 feet of Plaintiffs’
 businesses following the ordinance change, while overall crime in the balance of the Indianapolis
 Police Department’s (“IPD”) district only increased by 13% during that same period. Def.’s
 Exh. B at Tbl. 1. During the hours of midnight and 10:00 a.m., overall crime near Plaintiffs’
 businesses increased 29% while overall crime in the rest of the IPD district rose 21%. Id. at Tbl.
 3. On Sundays, overall crime near Plaintiffs’ businesses increased by 46% in comparison to an
 11% increase in the balance of the IPD district. Id. at Tbl. 4.
        6
          In the balance of the IPD district during that time period, violent/person crime increased
 14% and property crime increased 10%. Overall crime on Sundays increased 46% in the areas
 near Plaintiffs’ businesses, while crime in the rest of the IPD district increased by only 11%.
 Def.’s Exh. B at Tbl. 4.

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 present evidence showing that crime categorized as “violent/person crime” decreased by

 50% in the area near Plaintiffs’ businesses during the hours of midnight and 10:00 a.m.

 during enforcement of the revised ordinance, property crimes within 500 feet of

 Plaintiffs’ businesses increased by 59% during that same time period and overall crime

 increased by 29%.7 Id. Considering the significant harm to Plaintiffs’ free speech rights

 if the injunction is not issued, we find that the narrow segment of decreased crime during

 enforcement of the revised ordinance that the City has been able to demonstrate at this

 stage in the proceedings is insufficient to tip the balance in its favor. Consequently, we

 find that the balance of harms and public interest factors weigh in favor of Plaintiffs.



 III.   Conclusion

        For the foregoing reasons, the Court GRANTS Plaintiffs’ Motion for Preliminary

 Injunction. Defendant, the City of Indianapolis, and its officers, agents, servants,

 employees, attorneys, and all persons in active concert or participation with it who

 receive actual notice of this order by personal service or otherwise, are hereby

 PRELIMINARILY RESTRAINED from enforcing Chapter 807 of the City-County Code

 against Plaintiffs, their officers, agents, and employees. Such PRELIMINARY

 INJUNCTION is effective immediately upon the entry of this ruling on the Court’s


        7
          Violent/person crime increased by 12% and property crime increased by 25% in the rest
 of the IPD district during the hours of midnight to 10:00 a.m. Overall crime increased during
 that time period by 29% in the area surrounding Plaintiffs’ businesses and increased 21% in the
 balance of the IPD district. Def.’s Exh. B at Tbl. 3.

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 docket and shall extend until further order of the Court or, in any event, no later than a

 final ruling on the merits. IT IS SO ORDERED.



         12/01/2009
 Date: ______________________
                                                        _______________________________
                                                        SARAH EVANS BARKER, JUDGE
                                                        United States District Court
                                                        Southern District of Indiana




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